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                 IN THE UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF TEXAS
                          LUBBOCK DIVISION

 STATE OF TEXAS AND                        §
 TEXAS DEPARTMENT OF                       §
 TRANSPORTATION,                           §
                                           §
       Plaintiffs,                         §
                                           §
 v.                                        §
                                           §
 U.S. DEPARTMENT OF                        §
 TRANSPORTATION, FEDERAL                   §
                                               Civil Action No. 5:23-cv-304
 HIGHWAY ADMINISTRATION,                   §
 PETE BUTTIGIEG, in his official           §
 capacity as SECRETARY OF                  §
 TRANSPORTATION, and                       §
 SHAILEN BHATT, in his official            §
 capacity as ADMINISTRATOR OF              §
 THE FEDERAL HIGHWAY                       §
 ADMINISTRATION,                           §
                                           §
       Defendants.                         §


                     COMPLAINT AND PETITION FOR REVIEW

      This lawsuit challenges the legality of the final administrative rule entitled

National Performance Management Measures; Assessing Performance of the National Highway

System, Greenhouse Gas Emissions Measure (the Final Rule), promulgated by the Federal

Highway Administration and the Department of Transportation (collectively, DOT).

The Final Rule establishes a method of measurement and reporting of greenhouse gas

emissions associated with transportation (GHG Measure). The Final Rule requires state

departments of transportation (State DOTs) and metropolitan planning organizations
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(MPOs) to establish declining carbon dioxide (CO2) targets for the GHG Measure and

report CO2 reductions as a “performance measure.” DOT itself repealed a similar prior

rule for three defects that remain in this Final Rule: 1) a lack of statutory authority for

the GHG Measure; 2) the regulatory burden it imposes; and 3) its duplication of actions

by other, more appropriate agencies. Plaintiffs file this Complaint and Petition

for Review.

      The Final Rule exceeds the statutory authority granted to DOT by Congress; is

arbitrary and capricious, an abuse of discretion, or otherwise not in accordance with

law; and is contrary to constitutional right, power, privilege, or immunity. The Court

must vacate the Final Rule.

                                  INTRODUCTION

      1.      The State of Texas and the Texas Department of Transportation

(collectively, Texas or Plaintiffs) file this Complaint against the United States

Department of Transportation, Federal Highway Administration, Pete Buttigieg in his

official capacity as the Secretary of Transportation, and Shailen Bhatt in his official

capacity as Administrator of the Federal Highway Administration (collectively,

Defendants) for violations of the Administrative Procedure Act (APA) and the Moving

Ahead for Progress in the 21st Century Act (MAP-21), as amended by the Fixing




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America’s Surface Transportation (FAST) Act and the bipartisan Infrastructure

Investment and Jobs Act (IIJA).

       2.       The Final Rule was published in the Federal Register at 88 Fed. Reg. 85,364

on December 7, 2023. A true and correct copy of the Final Rule is attached as

Exhibit 1. Prior to adopting the Final Rule, DOT published a proposed version of the

Final Rule (the Proposed Rule) on July 15, 2022. See National Performance Management

Measures; Assessing Performance of the National Highway System, Greenhouse Gas Emissions

Measure, 87 Fed. Reg. 42,401. A true and correct copy of the Proposed Rule is attached

as Exhibit 2.

       3.       The Final Rule is effective on January 8, 2024, and State DOTs must

submit their initial declining CO2 targets for the GHG Measure no later than

February 1, 2024. DOT will perform a significant progress determination when State

DOTs submit Full Performance Period Progress Reports in the future.

                                     THE PARTIES

A. Plaintiffs

       4.       Plaintiff the State of Texas, by and through Ken Paxton, its Attorney

General, brings this suit to assert the rights of the State and on behalf of its citizens. See

Tex. Const. art. IV, § 22; Tex. Gov’t Code, Ch. 402; see also Tex H.B. 1, Art. IX, § 16.01,

82nd Leg., R.S. (2011). Texas submitted comments on the Proposed Rule, attached as

Exhibit 3. Texas also joined in support of additional comments submitted in response



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to the Proposed Rule in coordination with at least 19 States, attached as Exhibit 4 and

Exhibit 5.

      5.     Plaintiff the Texas Department of Transportation (TxDOT) is an agency

of the State of Texas charged with developing the policies for the location, construction,

and maintenance of a comprehensive system of state highways and public roads in

Texas. Tex. Transp. Code § 201.103. Under federal law, the defendants are required to

consult with TxDOT in establishing performance measures and standards. 23 U.S.C.

§ 150(c)(1). TxDOT is required to respond to the promulgation of performance

measures by setting performance targets. 23 U.S.C. § 150(d)(1). Furthermore, TxDOT

is required to report biennially regarding, but not limited to, the progress in achieving

its established performance target. 23 U.S.C. § 150(e)(3). TxDOT submitted comments

on the Proposed Rule, attached as Exhibit 6.

B. Defendants

      6.     Defendant the United States Department of Transportation is a federal

agency within the meaning of the APA. See 5 U.S.C. § 551(1). The United States

Department of Transportation is charged with oversight of the Federal-Aid Highway

Program. See 23 U.S.C. §§ 101, et seq. Such oversight includes the establishment of

performance measures and standards. 23 U.S.C. § 150(c).

      7.     Defendant the Federal Highway Administration (FHWA) is a federal

agency within the meaning of the APA. See 5 U.S.C. § 551(1). FHWA is an agency within



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the federal Department of Transportation. The Secretary of Transportation has

delegated its authority relevant to this suit to FHWA. See 23 CFR, ch. I, sub. E, part 490.

       8.     Defendant Pete Buttigieg is the Secretary of Transportation and is sued in

his official capacity. Secretary Buttigieg, in his capacity as Secretary of Transportation,

is ultimately responsible for FHWA’s establishment of performance measures

and standards.

       9.     Defendant Shailen Bhatt is the Administrator of FHWA and is sued in his

official capacity. Administrator Bhatt is responsible in his official capacity for FHWA’s

establishment of performance measures and standards.

                           JURISDICTION AND VENUE

       10.    This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331

(federal question), § 2202 (further necessary relief), and 5 U.S.C. §§ 701–706 (APA).

There is a present and actual controversy between the parties, and Plaintiffs are

challenging a final agency action pursuant to 5 U.S.C. §§ 551(13) and 704. This Court

can grant declaratory and injunctive relief under 28 U.S.C. §§ 2201–2202 and 5 U.S.C.

§§ 701–706.

       11.    Venue is proper in this Court under 5 U.S.C. § 703 and 28 U.S.C.

§ 1391(e)(1) because: 1) Plaintiffs are residents of this judicial district; and 2) portions

of federally-aided highways are located within this district.




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                                LEGAL FRAMEWORK

   A. The Administrative Procedure Act

       12.    The APA governs the federal rulemaking process and sets the standards

applicable when federal agencies propose and adopt final rules and regulations. 5 U.S.C.

§§ 553, 551(4).

       13.    The APA provides for judicial review of final agency actions by persons

adversely affected by such actions. Id. § 702. Under the APA, a reviewing court shall

“hold unlawful and set aside agency action, findings, and conclusions found to be …

arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law.”

Id. § 706(2)(A). A final agency action may be held unlawful and set aside if it is “in

excess of statutory jurisdiction, authority, or limitations, or short of statutory right.” Id.

§ 706(2)(C). A reviewing court shall also “hold unlawful and set aside agency action,

findings, and conclusions found to be … without observance of procedure required by

law.” Id. § 706(2)(D).

       14.    A decision is arbitrary and capricious “if the agency has relied on factors

which Congress has not intended it to consider, entirely failed to consider an important

aspect of the problem, offered an explanation for its decision that runs counter to the

evidence before the agency, or is so implausible that it could not be ascribed to a

difference in view or the product of agency expertise.” Motor Vehicle Mfrs. Ass’n of U.S.,

Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983).



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          15.    If an agency changes its position, it “must provide a reasoned explanation”

for the change. F.C.C. v. Fox Television Stations, Inc., 556 U.S. 502, 515 (2009). Such an

action “would ordinarily demand that [the agency] display awareness that it is changing

position. An agency may not, for example, depart from a prior policy sub silentio or

simply disregard rules that are still on the books.” Id.

      B. Performance Management Measures

          16.    Following Congress’s passage of MAP-211 and the FAST Act,2 the federal

Department of Transportation is required to establish measures for states to use to

assess, among other things, “the performance of the Interstate System;” and “the

performance of the National Highway System (excluding the Interstate System).” 23

U.S.C. § 150(c)(3)(A)(ii)(IV) and (V). Such measures are used by States in administering

the National Highway Performance Program (NHPP)—a program to provide federal

funding to support the National Highway System. Id. §§ 150(c)(A), 119(b). Funding

under the NHPP is limited to specific projects. See id. § 119(d).

          17.    DOT is required to carry out a rulemaking, in consultation with State

DOTs and MPOs, to establish performance measures and standards. Id. § 150(c)(1). In

promulgating a rulemaking, DOT must provide an opportunity to comment, consider




1
    Moving Ahead for Progress in the 21st Century Act, Pub. L. No. 112-141 (2012).
2
    Fixing America’s Surface Transportation Act, Pub. L. No. 114-94 (2015).


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any comments submitted, and limit performance measures to those described in

subsection (c). Id. § 150(c)(2).

        18.    Within one year of the promulgation of federal performance measures,

states must set performance targets reflecting such measures. Id. § 150(d)(1).

Additionally, states must biennially report on, among other issues, the progress in

achieving the performance targets established in response to the federal performance

measures. Id. § 150(e)(3).

        19.    FHWA’s regulations establishing performance measures to assess the

performance of the National Highway System are located at 23 CFR, ch. I, subch. E.,

pt. 490, subpt. E.

                                      BACKGROUND

    A. The origin of the GHG Measure and DOT’s appropriate repeal

        20.    On January 18, 2017, mere days before the start of the Trump

Administration, FHWA issued a final rule entitled National Performance Management

Measures; Assessing Performance of the National Highway System, Freight Movement on the Interstate

System, and Congestion Mitigation and Air Quality Improvement Program (the 2017 Rule). The

2017 Rule was published in the Federal Register at 82 Fed. Reg. 5970.

        21.    The 2017 Rule was issued to implement performance management

requirements that had been established by MAP-21 and the FAST Act. 2017 Rule, 82

Fed. Reg. at 5972. Specifically, the 2017 Rule, in part, established requirements to report

the percent change in CO2 generated by vehicles on the National Highway System (2017
                                                8
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GHG Measure). Id. at 5974. Under the 2017 Rule, State DOTs and MPOs with National

Highway System mileage within their respective jurisdictions would “be required to

establish targets and report on progress.” Id. FHWA would then analyze the information

submitted to determine whether there had been “significant progress” in achieving the

respective targets. Id.

        22.    FHWA cited MAP-21 as the source of its authority to promulgate the

2017 GHG Measure. FHWA adopted a new meaning of “performance,” as used in 23

U.S.C. § 150(c)(3), to include environmental performance. FHWA now claimed

numerous provisions of law supported its interpretation. Id. at 5995.

        23.    Following another notice of proposed rulemaking issued on October 5,

2017,3 FHWA issued a final rule entitled National Performance Management Measures;

Assessing Performance of the National Highway System, Freight Movement on the Interstate System,

and Congestion Mitigation and Air Quality Improvement Program (the 2018 Rule). The 2018

Rule was published in the Federal Register at 83 Fed. Reg. 24,920 on May 31, 2018.

        24.    FHWA determined that it was necessary to repeal the GHG measure

imposed by the 2017 Rule and provided three reasons for reversing course. First,

FHWA had re-examined its statutory authority and determined that its “prior

interpretation was based on a strained reading of the statutory language in section 150,



3
 National Performance Management Measures; Assessing Performance of the National Highway
System, Freight Movement on the Interstate System, and Congestion Mitigation and Air Quality
Improvement Program, 82 Fed. Reg. 46,427 (Oct. 5, 2017).
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and [the reading was] one that did not fully consider the limitations imposed by the

statute itself and other relevant considerations.” Id. at 24,923. Second, FHWA

determined that “the GHG measure impose[d] unnecessary regulatory burdens on State

DOTs and MPOs with no predictable benefits.” Id. at 24,924. Finally, FHWA found

that the 2017 Rule’s GHG measures were duplicative of regulatory actions and

responses taken by other federal agencies, state DOTs, and MPOs. Id. at 24,925.

   B. The Biden Administration’s New Goals

      25.    Within his first week in office, President Biden issued two executive

orders aimed at establishing the environmental policies of his Administration. The first,

signed on January 20, 2021, was Executive Order 13990, entitled “Protecting Public

Health and the Environment and Restoring Science to Tackle the Climate Crisis” (“EO

13990”). The second, signed on January 27, 2021, was Executive Order 14008, entitled

“Tackling the Climate Crisis at Home and Abroad” (“EO 14008”). EO 13990 was

published in the Federal Register at 86 Fed. Reg. 7037 on January 25, 2021, while EO

14008 was published in the Federal Register at 86 Fed. Reg. 7619 on February 1, 2021.

      26.    EO 13990 established a policy of the Biden Administration to reduce

greenhouse gas emissions and directed all executive departments and agencies to

“immediately review all existing regulations, orders, guidance documents, policies, and

any other similar agency actions… promulgated, issued, or adopted” by the Trump

Administration that would conflict with President Biden’s policies. EO 13990, 86 Fed.

Reg. at 7037. EO 14008 directed the whole of the Federal Government to “put the
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United States on a path to achieve net-zero emissions, economy-wide, by no later than

2050.” EO 14008, 86 Fed. Reg. at 7622. In April, President Biden announced an even

more aggressive target. FACT SHEET: President Biden Sets 2030 Greenhouse Gas Pollution

Reduction Target Aimed at Creating Good-Paying Union Jobs and Securing U.S. Leadership on

Clean Energy Technologies, the White House, https://tinyurl.com/4ht5m4v4 (Apr. 22,

2021).

   C. The Proposed Rule

         27.   Defendants issued the Proposed Rule on July 15, 2022. The stated

purpose of the Proposed Rule was “to amend [FHWA’s] regulations on national

performance standards to establish a method for the measure and reporting of GHG

emissions associated with transportation.” Proposed Rule, 87 Fed. Reg. at 42,402.

         28.   The Proposed Rule, like the 2017 Rule, contained a GHG measure to be

imposed upon State DOT’s and MPOs. Specifically, the Proposed Rule would require

State DOTs and MPOs to “establish declining targets that reduce CO2 emissions

generated by on-road mobile sources relative to a reference year defined as calendar

year 2021….” Id. Additionally, the Proposed Rule would require “State DOTs and

MPOs to set declining targets for reducing tailpipe CO2 emissions on the [National

Highway System].” Id. Finally, the Proposed Rule “would require State DOTs and

MPOs to biennially report on their progress in meeting the targets and require FHWA

to assess significant progress toward achieving the targets.” Id. at 42,401.



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       29.    Unlike the 2017 Rule, the Proposed Rule claimed to give State DOTs and

MPOs the flexibility to establish their own targets. But though the Proposed Rule let

State DOTs and MPOs choose emissions targets, it also required them to identify

targets that met the Biden Administration’s arbitrary emissions goals established

through executive order. See id. at 42,412 (“FHWA is not proposing to prescribe what

declining targets would look like in each State. However, the States should be able to

demonstrate how their targets fit into a longer timeframe of emissions reductions that

will reach the national GHG goals for 2030 and 2050.”).

       30.    DOT cited 23 U.S.C. § 150(c)(3) as the claimed basis for its authority to

promulgate the Proposed Rule. Id. at 42,407. As it did with the 2017 Rule, DOT

acknowledged that the statute is silent as to the definition of “performance” and stated

that it was interpreting the term “to include… environmental performance, an

interpretation that is consistent with the goals established under 23 U.S.C. 150(b).” Id.

DOT also identified numerous statutes that, according to DOT, supported its

interpretation. See id. at 42,408–09.

       31.    Recognizing that it was reversing course yet again, DOT addressed the

cost-benefit analysis and duplicative measures identified by the 2018 Rule. First, DOT

stated that the Proposed Rule “would create environmental sustainability benefits by

supporting more informed choices about transportation investments and other policies

to help achieve net-zero emissions economy-wide by 2050.” Id. at 42,410. DOT also re-

evaluated the costs of compliance with the Proposed Rule and “estimated total 10-year
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costs of $11,022,835 at a 7% discount rate and $12,887,491 at a 3% discount rate.” Id.

at 42,411. Second, the DOT explained that it found “relatively few State DOTs are

currently addressing GHG emissions, and even fewer are using performance measures,”

and that the Proposed Rule would “provide State DOTs with valuable information that

is not already covered by other Federal agencies.” Id. at 42,411–12.

       32.    DOT solicited comments on a variety of issues, including how FHWA

should structure improving targets for emission reductions and associated reporting

and significant progress requirements, and whether there were any other ways the

Proposed Rule could be implemented to better support emissions reductions to achieve

national emissions policies. Final Rule, 88 Fed. Reg. at 85,373.

    D. Texas criticized the Proposed Rule in submitted comments.

       33.    On October 13, 2022, the State, through Ken Paxton, its Attorney

General, submitted a comment letter in response to the Proposed Rule. Exhibit 3.

       34.    Texas’s comment identified three fundamental flaws with the Proposed

Rule. First, the State asserted that “[t]here is no statutory authority allowing the FHWA

to establish a greenhouse gas measure.” Exh. 3 at 5. Specifically, the State argued that

FHWA’s interpretation of the relevant statutes “ignores the actual statutory language”

in a manner that would enable FHWA “to promulgate measures it found convenient, as

long as the FHWA could shoehorn the measure into a nebulous, all-encompassing

definition of ‘performance.’” Id. at 5–6. The State further listed each statute that FHWA



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relied upon for authority and explained why no statute provides such power to the

agency to promulgate the Proposed Rule. Id. at 7–10.

        35.    Second, Texas asserted that “FHWA does not even attempt to justify its

imposition of a requirement of net-zero emissions by 2050.” Id. at 10. Specifically, the

State argued that, despite identifying it lacks the authority to approve or reject State DOT

emission targets, FHWA impermissibly mandates a net-zero emission target by 2050 and

that such an imposition may result in ever-increasing restrictions that would ultimately

be impossible to achieve. Id. at 10–11.

        36.    Finally, the State asserted that “FHWA, MPOs, and State DOTs have no

experience in environmental policymaking.” Id. at 11. Specifically, the State correctly

urged that environmental policy making falls outside of the administrative authority

granted to such agencies because “administrative agencies’ powers are restricted to the

realm of their expertise.” Id.

        37.    TxDOT submitted its comments to the DOT on October 12, 2022.

Exhibit 4.

        38.    TxDOT’s comments addressed a plethora of deficiencies with the

Proposed Rule including lack of administrative authority, vagueness, impossibility, and

unforeseen and unequal impacts. Specifically, among other issues, TxDOT asserted the

following arguments:

         The Proposed Rule constitutes impermissible overreach because Congress
          has not authorized FHWA to establish a CO2 performance measure for the
          National Highway System. Exh. 4 at 2.
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        Even if Congress had called for a CO2 performance measure, it would be up
         to the States to establish their own targets, and the Proposed Rule does not
         allow for that. Id. at 4.

        FHWA should clarify whether State DOTs’ and MPOs’ declining targets for
         reducing tailpipe CO2 emissions on the National Highway System must
         demonstrate 50-52% reduction in on-road CO2 emissions by 2030 and net-
         zero on-road emissions by 2050. Id. at 4.

        FHWA failed to consider the overall practicability of the Proposed Rule and,
         as such, the rulemaking is arbitrary and capricious. Id. at 5.

             FHWA must prepare an environmental impact statement and a regulatory
             impact analysis that takes a hard look what is needed for the National
             Highway System to achieve the stated emissions goals by 2030 and 2050, or
             even year-over-year reductions. Id. at 11.

        Congress has not authorized funding for the GHG Measure, and as such the
         Proposed Rule would constitute an unfunded mandate by Congress Id. at 14.

        The economic impacts, including the Proposed Rule’s impact on the
         movement of goods and annual impact on the national economy, were not
         properly considered. Id. at 14–15.

        Requiring all states to meet the same CO2 reduction goals for the National
         Highway System will have substantially different impacts on some states
         compared to others. Id. at 15.
       39.      The State also joined comment letters submitted by the Attorneys General

of Oklahoma and Kentucky, which both similarly contained comments stating that

DOT lacked the authority to promulgate the Proposed Rule and violated the APA by

relying on factors not prescribed by Congress, among other things. See Exhs. 5 and 6.

    E. DOT still claimed authority to implement the Final Rule.

       40.      When the DOT issued the Final Rule on December 7, 2023, it announced

that the “GHG measure established in this rule is the same as the measure proposed in

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the NPRM, which is the percent change in on-road tailpipe CO2 emissions on the

National Highway System relative to the reference year.” Final Rule, 88 Fed. Reg. at

85,364. In other words, despite the deep concerns voiced by the State, TxDOT, and

others, DOT doubled down on its authority to require a GHG Measure that

impermissibly regulates CO2 emissions.

       41.      Although DOT removed the arbitrary requirements that emissions targets

must align with executive policy, DOT still mandated that the targets be declining. DOT

also changed the timelines for reporting and the reference year; added a severability

clause absent in the Proposed Rule; and that significant progress determinations will

require a GHG metric and GHG Measure; and made other minor technical changes. Id.

at 85,371–73.

    F. The Final Rule harms Texas and TxDOT.

       42.      The Final Rule harms Plaintiffs because it expands federal regulation

beyond what is authorized by statute. Because Texas is the “the object of” the Final

Rule’s requirements, “‘there can be ‘little question’ that the rule [injures] the States.” W.

Virginia v. EPA, 142 S. Ct. 2587, 2606 (2022) (quoting Lujan v. Defenders of Wildlife, 504

U.S. 555, 561-62).

       43.      The Final Rule requires TxDOT to establish initial declining CO2 targets

for the GHG Measure and report them to the DOT by February 1, 2024. 88 Fed. Reg.

85,372. TxDOT will have to submit biennial reporting and the DOT will perform a

significant progress determination on those targets. Id. If significant progress is not
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achieved, then TxDOT will have to document actions it will take to achieve that target

in the next biennial report. 88 Fed. Reg. 85,378; see 23 C.F.R. 490.507(b). Not even

considering the cost of actions necessary to achieve significant progress towards the

targets, the DOT estimates the Final Rule will cost $10.8 million, discounted 7%, and

$12.7 million discounted at 3%, over a ten-year period.

       44.    Although the DOT removed language that the established targets need to

be as stringent as in the Proposed Rule for net-zero emissions by 2050, the Final Rule

still requires TxDOT to establish declining targets and monitor and report progress

towards the targets even though the DOT lacks statutory authority.

       45.    Moreover, the intent behind the Final Rule remains the same as in the

Proposed Rule to align with executive policies to reduce GHG emissions economywide

no later than 2050. 88 Fed. Reg. 85,371. For Texas, to achieve declining targets year

over year would require substantial changes to how the citizens of Texas use the

Interstate and National Highway System and would drastically impact the economy

because Texas has major national and international ports and distribution centers. See

Exh. 3, 6.

                                CLAIMS FOR RELIEF

Claim I:      The Final Rule exceeds DOT’ statutory authority, in violation of the
              APA.

       46.    Plaintiffs re-allege and incorporate by reference the facts and allegations

set forth in all preceding paragraphs as if set forth fully herein.

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       47.    Under the APA, a final agency action may be held unlawful and set aside

if it is “in excess of statutory jurisdiction, authority, or limitations, or short of statutory

right.” 5 U.S.C. § 706(2)(C).

       48.    DOT relies upon 23 U.S.C. § 150(c)(3) as the statutory authority to

promulgate the Final Rule. However, DOT is limited to promulgating only measures

described by subsection (c). 23 U.S.C. § 150(c)(2)(C). The relevant statute provides that

FHWA, in administering the NHPP, shall establish “measures for States to use to assess

the performance of” the Interstate System and the National Highway System. Id.

§ 150(c)(3)(A)(ii)(IV) and (V). The NHPP limits funding only to those projects

identified by statute; however, no eligible project relates to the Final Rule’s GHG

measure. See id. § 119(d)(2).

       49.    DOT further bases its authority to promulgate the Final Rule on a strained

reading of “performance” as used in 23 U.S.C. § 150(c). But the term is undefined and

thus cannot be used to expand FHWA’s regulatory authority. See W. Virginia v. EPA,

597 U.S. ---, 142 S. Ct. 2587, 2609 (2022) (“Extraordinary grants of regulatory authority

are rarely accomplished through modest words, vague terms, or subtle devices.”).

Instead, DOT “must point to ‘clear congressional authorization’ for the power it

claims.” Id. (quoting Util. Air Regulatory Group v. EPA, 573 U.S. 302, 324 (2014)).

       50.    Moreover, to the extent Congress has authorized 23 U.S.C. § 150(c) to

permit a performance measure related to on-road mobile source emissions, it did so

through the limited authority under the Congestion Mitigation and Air Quality (CMAQ)
                                              18
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Program. 23 U.S.C. § 150(c)(5). DOT may establish measures to carry out the CMAQ

Program; however, this Program is limited to only ozone, carbon monoxide, or

particulate matter, not CO2 or GHGs. See 23 U.S.C. § 149.

       51.    Because the Final Rule is “in excess of statutory jurisdiction, authority,

or limitations, or short of statutory right,” it must be held unlawful and be set aside. 5

U.S.C. § 706(2)(C).

Claim II:     The Final Rule is arbitrary and capricious, an abuse of discretion,
              or otherwise not in accordance with law, in violation of the APA.
       52.    Plaintiffs re-allege and incorporate by reference the facts and allegations

set forth in all preceding paragraphs as if set forth fully herein.

       53.    Under the APA, a final agency action may be held unlawful and set aside

if it is “arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with

law.” 5 U.S.C. § 706(2)(A). This means an agency cannot rely on “factors which

Congress has not intended it to consider” and the agency “must examine the relevant

data and articulate a satisfactory explanation for its action.” Motor Vehicle Mfrs. Ass’n of

the US, 463 U.S. at 43; see FCC v. Fox Television Stations, Inc., 556 U.S. 502, 513 (2009).

       54.    The Final Rule requires State DOTs and MPOs “to establish declining

targets for reducing CO2 emissions generated by on-road mobile sources.” Final Rule,

88 Fed. Reg. at 85,364. While DOT claims that the Final Rule is no longer tied to the

Biden Administration’s long term emission reductions goals, the Final Rule still

mandates that any targets must be declining. Moreover, DOT acknowledges the GHG


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Measure aligns with those executive policies and supports reaching net-zero by 2050

economy wide. 88 Fed. Reg. 85,365. Congress has not authorized it to consider climate

change for the purposes of implementing performance measures. Further, if any federal

agency may regulate greenhouse gas emissions, that power has been delegated to the

Environmental Protection Agency.

      55.       The DOT also failed to properly estimate the costs associated with the

Final Rule. As identified by TxDOT in its comment to the Proposed Rule, the DOT’s

Regulatory Impact Analysis (RIA) only evaluates the costs from the perspective of

performance reporting and not from the costs for action necessary to achieve any

declining target. See Exh. 6 at 11-13. In response, the DOT summarily dismissed these

concerns and “determined the RIA cost estimates should be primarily unchanged”

because the DOT is not requiring specific declining targets or mandating penalties for

failing to meet the targets. 88 Fed. Reg. 85,388.

      56.       However, if significant progress is not made in achieving the established

targets, the DOT will require TxDOT to document the actions it will take to achieve

the targets in a biennial report. 88 Fed. Reg. 85,378. It is the costs of these actions to

achieve significant progress that are not accounted for in the RIA. Accordingly, the

Final Rule is arbitrary and capricious because the DOT failed to take these costs

into account.




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       57.     Because the Final Rule is “arbitrary, capricious, an abuse of discretion, or

otherwise not in accordance with law,” it must be held unlawful and be set aside. 5

U.S.C. § 706(2)(A).

Claim III: The Final Rule violates the Spending Clause.

       58.     Plaintiffs re-allege and incorporate by reference the facts and allegations

set forth in all preceding paragraphs as if set forth fully herein.

       59.     Under the APA, a final agency action may be held unlawful and set aside

if it is “contrary to constitutional right, power, privilege, or immunity.” 5 U.S.C.

§ 706(2)(B).

       60.     When Congress exercises its Spending Clause power against the States,

the principles of federalism require the conditions attached to federal funds must be

clearly understood from the language of the law itself. Arlington Cent. Sch. Bd. of Educ. v.

Murphy, 548 U.S. 291, 296 (2006). “States cannot knowingly accept conditions of which

they are ‘unaware’ or which they are ‘unable to ascertain.’” Id. (quoting Pennhurst State

Sch. & Hosp. v. Halderman, 451 U.S. 1, 17 (1981). Further, the Spending Clause

empowers Congress alone with the power of the purse, not the Executive. Tex. Educ.

Agency v. U.S. Dep’t of Educ., 992 F.3d 350, 362 (5th Cir. 2021). An executive agency

cannot impose conditions to receive federal funds that were not clear from the law

Congress enacted. Id.

       61.     As part of its Spending Clause power, Congress apportions federal funds

among the States, including Texas, to implement the NHPP. See 23 U.S.C. § 104.
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Accordingly, any conditions required by the DOT through regulations to receive those

funds must be clear from the underlying statute to conform with the Spending Clause

and principles of federalism. The Final Rule, however, impermissibly restricts the use

of those federal funds by requiring TxDOT to implement the GHG Measure, which is

not clearly ascertainable in 23 U.S.C. § 150(c)(3).

       62.      Because the Final Rule is “contrary to constitutional right, power,

privilege, or immunity,” it must be held unlawful and be set aside. 5 U.S.C. § 706(2)(B).

                                  PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs respectfully request that the Court:

       (1) adjudge and declare that the rulemaking titled National Performance Management

             Measures; Assessing Performance of the National Highway System, Greenhouse Gas

             Emissions Measure is unlawful because it is inconsistent with, and in excess of,

             DOT’s authority;

       (2) adjudge and declare that the final rule is arbitrary, capricious, an abuse of

             discretion, and not in accordance with the law, and otherwise contrary to

             constitutional rights and powers;

       (3) vacate the Final Rule;

       (4) award Plaintiffs their reasonable fees, costs, expenses, and disbursements,

             including attorney’s fees, associated with this litigation; and

       (5) grant Plaintiffs such additional and further relief as the Court may deem just,

             proper, and necessary.
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Dated: December 19, 2023            Respectfully submitted,

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